      Case 4:15-cr-06010-EFS    ECF No. 103     filed 05/09/16   PageID.228 Page 1 of 2




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 4
                             UNITED STATES DISTRICT COURT
 5                          EASTERN DISTRICT OF WASHINGTON

 6
     UNITED STATES OF AMERICA,                  No.   4:15-CR-6010-EFS-4
 7
                               Plaintiff,
 8                                              ORDER GRANTING DEFENDANT’S SECOND
                  v.                            MOTION TO CHANGE HOURS OF CURFEW
 9
     MACARIO ROSALES-SANCHEZ,
10
                               Defendant.
11

12        Before the Court, without oral argument, is Defendant Macario

13   Rosales-Sanchez’s Second Motion to Change Curfew Hours, ECF No. 102.

14   On January 13, 2016, Defendant Rosales-Sanchez was arraigned in this

15   matter. ECF No. 33. On January 15, 2016, a bail hearing was held. ECF

16   No. 54. Magistrate Judge Rodgers set a curfew for Defendant requiring

17   him to be home between the hours of 6:00 p.m. and 6:00 a.m. as a

18   condition of his pretrial release. Id. Defendant previously asked the

19   Court to adjust those hours to require him to be home from 8:00 p.m.

20   to 7:30 a.m. ECF No. 72 at 1. The Court granted his request. ECF No.

21   81. Defendant now asks that the Court adjust his curfew hours to

22   require him to be home from 2:30 a.m. to 7:30 a.m. ECF No. 102.

23   Defendant informs the Court that he has been offered a delivery job,

24   which would require him to work late hours. Id. According to defense

25   counsel,    the   Government   has   no   objection    to   the   modification   of

26   Defendant’s pretrial release curfew. Id.




     ORDER - 1
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 1           Accordingly, IT IS HEREBY ORDERED:

 2           1. Defendant Macario Rosales-Sanchez’s Second Motion to Change

 3               Curfew Hours, ECF No. 102, is GRANTED.

 4           2. Defendant’s curfew now runs from 2:30 a.m. to 7:30 a.m.

 5           3. All other previously imposed conditions of pretrial release

 6               remain unchanged.

 7           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 8   Order and provide copies to all counsel and to the U.S. Probation

 9   Office.

10           DATED this _9th _ day of May 2016.

11
                                       __s/Edward F. Shea
12                                         EDWARD F. SHEA
                                Senior United States District Judge
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     ORDER - 2
